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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al.,1                                    Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)



           NOTICE OF FILING OF SECOND AMENDED PLAN SUPPLEMENT

               PLEASE TAKE NOTICE that on June 26, 2024, the United States Bankruptcy
Court for the District of Delaware (the “Court”) entered the Order (I) Approving the Adequacy of
the Disclosure Statement; (II) Approving Solicitation Packages; (III) Approving the Forms of
Ballots; (IV) Establishing Voting, Solicitation and Tabulation Procedures; and (V) Establishing
Notice and Objection Procedures for the Confirmation of the Plan [D.I. 19068] (the “Solicitation
Procedures Order”). Among other things, the Solicitation Procedures Order approved the
adequacy of the Disclosure Statement for Debtors’ Joint Chapter 11 Plan of Reorganization of
FTX Trading Ltd. and Its Affiliated Debtors and Debtors-in-Possession (as may be amended,
modified or supplemented from time to time, the “Disclosure Statement”), voting and solicitation
procedures and established the timeline to confirm the Joint Chapter 11 Plan of Reorganization
of FTX Trading Ltd. and Its Debtor Affiliates (as may be amended, modified or supplemented
from time to time, the “Plan”).2

                PLEASE TAKE FURTHER NOTICE that on August 2, 2024, the Debtors filed
with the Court the Notice of Filing of Plan Supplement [D.I. 22163 (Redacted) and D.I. 22164
(Sealed)] (the “Plan Supplement”).

               PLEASE TAKE FURTHER NOTICE that on September 23, 2024, the Debtors
filed with the Court the Notice of Filing of First Amended Plan Supplement [D.I. 25649] (the
“First Amended Plan Supplement”).




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://restructuring.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and
    Barbuda.
2
    Capitalized terms used but not defined in this notice shall have the meaning ascribed to them in the Plan or the
    Disclosure Statement, as applicable.
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              PLEASE TAKE FURTHER NOTICE that in connection with the Plan and in
accordance with the Solicitation Procedures Order, the Debtors hereby file the Second Amended
Plan Supplement, which consists of the following documents attached hereto:

                  1. Exhibit 1 – Revised Draft Plan Administration Agreement.
                  2. Exhibit 2 - Blackline of the Revised Draft Plan Administration Agreement
                     as compared against the version filed with the Plan Supplement.
                  3. Exhibit 3 – Revised Draft Liquidating Trust Agreement.
                  4. Exhibit 4 – Blackline of the Revised Draft Liquidating Trust Agreement
                     as compared against the version filed with the Plan Supplement.
                  5. Exhibit 5 – Second Amended and Restated List of Assumed Executory
                     Contracts and Unexpired Leases.
                  6. Exhibit 6 – Blackline of the Second Amended and Restated List of
                     Assumed Executory Contracts and Unexpired Leases as compared against
                     the version filed with the First Amended Plan Supplement.
                  7. Exhibit 7 – Revised List of Excluded Entities
                  8. Exhibit 8 – Blackline of the Revised List of Excluded Entities as
                     compared against the version filed with the Plan Supplement.

               PLEASE TAKE FURTHER NOTICE that the Court has set October 7, 2024
at 10:00 a.m. prevailing Eastern Time as the date and time for the hearing on the Confirmation
of the Plan (the “Confirmation Hearing”) and to consider any objections to confirmation of the
Plan. The Confirmation Hearing will be held before the Honorable John T. Dorsey, United
States Bankruptcy Court for the District of Delaware, located at 824 Market Street, 5th Floor,
Courtroom 5, Wilmington, Delaware 19801. The Confirmation Hearing may be continued from
time to time by the Court or the Debtors without further notice other than by such adjournment
being announced in open court or by a notice of adjournment filed with the Court and served on
such parties as the Court may order. Moreover, the Plan may be modified or amended, if
necessary, pursuant to section 1127 of the Bankruptcy Code, the Federal Rules of Bankruptcy
Procedure, and other applicable law, prior to, during or as a result of the Confirmation Hearing,
without further notice to parties-in-interest.

                PLEASE TAKE FURTHER NOTICE that certain documents, or portions
thereof, contained in this Second Amended Plan Supplement remain subject to ongoing review
and revision. The Debtors reserve all rights to alter, amend, modify, or supplement any
document in this Second Amended Plan Supplement in accordance with the Plan at any time
before the Effective Date of the Plan or any such other date as may be provided for by the Plan
or by order of the Bankruptcy Court.

               PLEASE TAKE FURTHER NOTICE that copies of the Plan, the Plan
Supplement, this Second Amended Plan Supplement, the Disclosure Statement and the
Solicitation Procedures Order, as well as other documents filed in these Chapter 11 Cases, may
be obtained (i) for a nominal fee from the Court’s electronic docket for the Debtors’ Chapter 11
Cases at https://ecf.deb.uscourts.gov (a PACER login and password are required and can be
obtained through the PACER Service Center at www.pacer.psc.uscourts.gov), or (ii) free of
charge by accessing the website of Kroll Restructuring Administration, LLC (the “Solicitation
Agent”), https://restructuring.ra.kroll.com/FTX. In addition, the Debtors will, at their expense,

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provide paper copies of the Plan, Disclosure Statement or Solicitation Procedures Order to any
party submitting a request for such paper copies by (a) calling the Solicitation Agent at (888)
482-0049 (toll-free) or +1 (646) 440-4176 (international); (b) e-mailing the Solicitation Agent at
ftxinfo@ra.kroll.com with a reference to “In re: FTX - Solicitation Inquiry” in the subject line; or
(c) writing to the Solicitation Agent at FTX Trading Ltd. Ballot Processing Center, c/o Kroll
Restructuring Administration LLC, 850 Third Avenue, Suite 412, Brooklyn, NY 11232. Please
be advised that the Solicitation Agent is authorized to answer questions about, and provide
additional copies of, materials filed in these Chapter 11 Cases, but may not advise you as to
whether you should object to the confirmation of the Plan or on matters relating to the Plan.



Dated: October 3, 2024                      LANDIS RATH & COBB LLP
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